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 6

 7                          IN THE UNITED STATES DISTRICT COURT
 8                       FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
                                                    ) Case No.: 1:15CR000209 LJO
10   UNITED STATES OF AMERICA,                      )
                                                    ) STIPULATION AND ORDER TO
11                  Plaintiff,                      ) CONTINUE SENTENCING HEARING
                                                    )
12          v.                                      )
                                                    )
13   ROBIN LEE,                                     )
                                                    )
14                  Defendant.                      )
15   TO: THE CLERK OF THE UNITED STATES DISTRICT COURT, HONORABLE
16   LAWRENCE J. O’NEILL AND BRIAN K. DELANEY, ASSISTANT UNITED STATES

17   ATTORNEY:

18          COMES NOW Defendant, ROBIN LEE, by and through her attorney of record, Virna L.

19   Santos, hereby requesting that the sentencing hearing currently set for January 8, 2018 be

20   continued to March 26, 2018 at 9:30 a.m.

21          This request is premised upon defense counsel’s unforeseen unavailability for good case.

22   Specifically, undersigned defense concluded a month-long trial on December 8, 2017, People v.

23   Joshua Stepp, Tulare County Superior Court Case No. VCF 273216. Due to the length of said

24   trial, defense counsel was unable to review the presentence report with Ms. Lee or prepare any

25   informal and formal objections within the prescribed deadlines. Defense counsel requires

     additional time to complete these tasks in advance of the sentencing hearing within a timeline


                     Stipulation and Proposed Order to Continue Sentencing Hearing
                                                   1
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 1   that will allow the U.S. Probation Office to respond to objections and prepare a final report.

 2   Accordingly, this continuance is unavoidable and necessary.

 3          Undersigned counsel has consulted with AUSA Brian K. Delaney, who has no objection

 4   to this request. The parties have agreed to a new sentencing hearing date of March 26, 2018 at

 5   8:30 a.m. for sentencing.

 6          IS SO STIPULATED.

 7                                                                Respectfully submitted,

 8   DATED: December 18, 2017                                     /s/ Virna L. Santos
                                                                  VIRNA L. SANTOS
 9                                                                Attorney for Defendant
                                                                  ROBIN LEE
10

11

12   DATED: December 18, 2017
                                                                  /s/ Brian K. Delaney
13                                                                BRIAN K. DELANEY
                                                                  Assistant U.S. Attorney
14

15

16                                                ORDER

17          The change of plea hearing currently set for January 8, 2018 is hereby continued to

18   March 26, 2018 at 9:30 a.m.

19   IT IS SO ORDERED.
20
        Dated:     December 18, 2017                        /s/ Lawrence J. O’Neill _____
21                                                 UNITED STATES CHIEF DISTRICT JUDGE

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                      Stipulation and Proposed Order to Continue Sentencing Hearing
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